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             EXHIBIT B
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      Cadio Zirpoli (State Bar No. 179108)                     Alexander J. Sweatman (pro hac vice)
 2    Christopher K.L. Young (State Bar No. 318371)            CAFFERTY CLOBES MERIWETHER
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      Counsel for Individual and Representative
14    Plaintiﬀs and the Proposed Class

15    [Additional counsel on signature page]

16
                                UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18                                 SAN FRANCISCO DIVISION

19   Richard Kadrey, et al.,                                    Lead Case No. 3:23-cv-03417-VC
                                                                Case No. 4:23-cv-06663
20                 Individual and Representative Plaintiﬀs,
                                                                PLAINTIFF SARAH SILVERMAN’S
21                                                              AMENDED RESPONSES TO
     v.
                                                                DEFENDANT META PLATFORMS,
22                                                              INC.’S SECOND SET OF REQUESTS FOR
     Meta Platforms, Inc.,                                      ADMISSION
23
                                                  Defendant.
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      Lead Case No. 3:23-cv-03417-VC
       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1    PROPOUNDING PARTIES:                             Defendant Meta Platforms, Inc.

 2    RESPONDING PARTIES:                              Plaintiﬀ Sarah Silverman

 3    SET NUMBER:                                      Two (2)

 4

 5          Plaintiﬀ Sarah Silverman (“Plaintiﬀ”) hereby amends his responses to Defendant Meta

 6   Platforms, Inc.’s (“Defendant” or “Meta”) Second Set of Requests for Admissions (the “Requests”

 7   or “RFAs”).

 8                                        GENERAL OBJECTIONS

 9          1.      Plaintiﬀ generally objects to Defendant’s deﬁnitions and instructions to the extent they

10   purport to require Plaintiﬀ to respond in any way beyond what is required by the Federal and local rules.

11          2.      Plaintiﬀ objects to the Requests to the extent they seek information or materials that are

12   protected from disclosure by attorney-client privilege, the work product doctrine, expert disclosure

13   rules, or other applicable privileges and protections, including communications with Plaintiﬀ’s

14   attorneys regarding the Action.

15          Discovery in this matter is ongoing and Plaintiﬀ reserves the right to amend, modify, or

16   supplement these responses with subsequently discovered responsive information and to introduce and

17   rely upon any such subsequently discovered information in this litigation.

18            AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS

19   REQUEST FOR ADMISSION NO. 18:

20          Admit that, other than YOUR contention that LLM developers such as Meta should have

21   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

22   are unaware of any specific licensing opportunity that YOU lost due to the infringement alleged in the

23   COMPLAINT.

24   RESPONSE TO REQUEST NO. 18:

25          Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

26   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

27   includes any person asked, hired, retained, or contracted to assist Plaintiff. Plaintiff will construe the

28   terms “You” and “Your” as referring to Plaintiff Sarah Silverman. Plaintiff objects to this Request as
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 1   irrelevant to any claim or defense and disproportional to the status and needs of this case. Plaintiff

 2   objects to this Request because it is hypothetical and is not tied to the facts of the case. See, e.g.,

 3   Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to

 4   admit ‘must be connected to the facts of the case, courts do not permit “hypothetical” questions within

 5   requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17,

 6   1997) (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use

 7   of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. There is no way for

 8   Plaintiff to know what her licensing opportunities would have been but for Meta’s failure to compensate

 9   Plaintiff, let alone other LLM developers. Subject to and without waiving the foregoing objections,

10   Plaintiff responds that after a reasonable inquiry, the information known or that can be readily obtained

11   by her is insufficient to enable her to admit or deny.

12   AMENDED RESPONSE TO REQUEST NO. 18:

13           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

14   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

15   includes any person asked, hired, retained, or contracted to assist Plaintiff. Plaintiff will construe the

16   terms “You” and “Your” as referring to Plaintiff Christopher Golden. Plaintiff objects to this Request

17   as irrelevant to any claim or defense and disproportional to the status and needs of this case. Plaintiff

18   objects to this Request because it is hypothetical and is not tied to the facts of the case. See, e.g.,

19   Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016) (“Since requests to

20   admit ‘must be connected to the facts of the case, courts do not permit “hypothetical” questions within

21   requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL 873548, at *3 (D. Del. Nov. 17,

22   1997) (denying request “asking Plaintiff to admit to infringement in the context of the hypothetical use

23   of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946 amendment. There is no way for

24   Plaintiff to know what his licensing opportunities would have been but for Meta’s failure to

25   compensate, let alone other LLM developers. Subject to and without waiving the foregoing objections,

26   Plaintiff responds, admit.

27   REQUEST FOR ADMISSION NO. 19:

28           Admit that, other than YOUR contention that LLM developers such as Meta should have
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       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   compensated YOU to allegedly use YOUR ASSERTED WORKS to train large language models, YOU

 2   are unaware of any documentary evidence that YOU lost a specific licensing opportunity due to the

 3   infringement alleged in the COMPLAINT.

 4   RESPONSE TO REQUEST NO. 19:

 5           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

 6   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

 7   includes any person asked, hired, retained, or contracted to assist Plaintiff. Plaintiff will construe the

 8   terms “You” and “Your” as referring to Plaintiff Sarah Silverman. Plaintiff objects to the phrase,

 9   “other than YOUR contention that LLM developers such as Meta should have compensated YOU to

10   allegedly use” as irrelevant and unintelligible. Plaintiff also objects to the term “documentary

11   evidence” as being vague and overbroad because it is not limited to the specific claims and defenses

12   raised in this dispute. Plaintiff further objects to this Request because it is hypothetical and is not tied to

13   the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

14   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

15   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL

16   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

17   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

18   amendment. There is no way for Plaintiff to know what her licensing opportunities would have been but

19   for Meta’s failure to compensate, let alone other LLM developers. Subject to and without waiving the

20   foregoing objections, Plaintiff responds that after a reasonable inquiry, the information known or that

21   can be readily obtained by her is insufficient to enable her to admit or deny.

22   AMENDED RESPONSE TO REQUEST NO. 19:

23           Plaintiff objects to the defined terms “You” and “Your” as vague and overbroad and calling for

24   discovery that is irrelevant and/or disproportional to the needs of the case because, as defined, it

25   includes any person asked, hired, retained, or contracted to assist Plaintiff. Plaintiff will construe the

26   terms “You” and “Your” as referring to Plaintiff Christopher Golden. Plaintiff objects to the phrase,

27   “other than YOUR contention that LLM developers such as Meta should have compensated YOU to

28   allegedly use” as irrelevant and unintelligible. Plaintiff also objects to the term “documentary
      Lead Case No. 3:23-cv-03417-VC                  3
       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   evidence” as being vague and overbroad because it is not limited to the specific claims and defenses

 2   raised in this dispute. Plaintiff further objects to this Request because it is hypothetical and is not tied to

 3   the facts of the case. See, e.g., Buchanan v. Chi. Transit Auth., 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7,

 4   2016) (“Since requests to admit ‘must be connected to the facts of the case, courts do not permit

 5   “hypothetical” questions within requests for admission.’”); Fulhorst v. Un. Techs. Auto., Inc., 1997 WL

 6   873548, at *3 (D. Del. Nov. 17, 1997) (denying request “asking Plaintiff to admit to infringement in the

 7   context of the hypothetical use of its device”); Fed. R. Civ. P. 36 advisory committee’s note to 1946

 8   amendment. There is no way for Plaintiff to know what his licensing opportunities would have been but

 9   for Meta’s failure to compensate, let alone other LLM developers. Subject to and without waiving the

10   foregoing objections, Plaintiff admits in part and denies in part. Plaintiffs do not possess such

11   documents and will rely on documents produced by Meta and third parties.

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       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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 1   Dated: September 19, 2024             By:         /s/ Joseph R. Saveri
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      Lead Case No. 3:23-cv-03417-VC                  5
       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
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     Lead Case No. 3:23-cv-03417-VC                  6
      PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                                    SECOND SET OF REQUESTS FOR ADMISSION
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 1                                      CERTIFICATE OF SERVICE

 2           I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business address is

 3   601 California Street, Suite 1505, San Francisco, California 94108. I am over the age of eighteen and not

 4   a party to this action.

 5           On September 19, 2024, I caused the following documents to be served by email upon the

 6   parties listed on the attached Service List:

 7          PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT
             META PLATFORMS, INC.’S SECOND SET OF REQUESTS FOR ADMISSION
 8

 9
         I declare under penalty of perjury that the foregoing is true and correct. Executed September 19,
10
     2024, at San Francisco, California.
11

12
                                                      By:
13                                                                 Rya Fishman

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      Lead Case No. 3:23-cv-03417-VC                  7
       PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                                     SECOND SET OF REQUESTS FOR ADMISSION
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       Lead Case No. 3:23-cv-03417-VC                  8
        PLAINTIFF SARAH SILVERMAN’S AMENDED RESPONSES TO DEFENDANT META PLATFORMS, INC.’S
                                      SECOND SET OF REQUESTS FOR ADMISSION
